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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff

v.

NATHANIEL NEAL,

Defendant.                                         No. 05-CR-30132-DRH

                                     ORDER


HERNDON, District Judge:

              Before the Court is a motion submitted by Attorney R. Henry Branom,

Jr. — attorney for Defendant Nathaniel Neal — to withdraw in this case due to his

upcoming move to Montana. (Doc. 48.) The Court GRANTS Attorney Branom’s

motion.     (Doc. 48.)   Further, the Court now APPOINTS Attorney Christopher

Threlkeld, 224 St. Louis Street, Edwardsville, Illinois 62025 to represent Defendant

in this matter.

              IT IS SO ORDERED.

              Signed this 27th day of February, 2006.



                                             /s/        David RHerndon
                                             United States District Judge
